






In The



Court of Appeals



Ninth District of Texas at Beaumont


____________________



NO. 09-04-236 CV


____________________



IN THE INTEREST OF J.L.D.






On Appeal from the 279th District Court


Jefferson County, Texas


Trial Cause No. F-153056-C






MEMORANDUM OPINION (1)


	On September 9, 2004, we notified the parties that the appeal would be dismissed
for want of prosecution unless arrangements were made for filing the record or the
appellant explained why he needed time for filing the record.  Appellant did not respond. 
The appellant is not entitled to proceed without payment of costs.  Tex. R. App. P. 20.1. 
There being no satisfactory explanation for the failure to file the record, the appeal is
dismissed for want of prosecution.  Tex. R. App. P. 37.3(b).  Costs are assessed against
appellant.

	APPEAL DISMISSED.	

										PER CURIAM


Opinion Delivered October 21, 2004 

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


